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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF GEORGIA
                             BRUNSWICK DIVISION

RUTHIE LEE,

     Plaintiff,

v.                                                        Case No. 2:19-cv-00140-LGW-BWC

SELECT PORTFOLIO SERVICING, INC.,

     Defendant.


 SELECT PORTFOLIO SERVICING’S RESPONSE TO PLAINTIFF’S RESPONSE TO
     THE ORDER OF THE COURT REGARDING FEDERAL JURISDICTION

       COMES NOW, Select Portfolio Servicing, Inc. (“SPS”), Defendant in the above-styled

civil action, and files this Response to the Plaintiff’s Response to the Order of the Court

Regarding Federal Jurisdiction, respectfully showing this Honorable Court as follows:

                  RELEVANT FACTS AND PROCEDURAL HISTORY

       This case began in Glynn County Superior Court and was removed by SPS on November

13, 2019. [Doc. 1]. In its Notice of Removal, SPS asserted that this Court possesses diversity

jurisdiction under 28 U.S.C. § 1332 because the Plaintiff is a Georgia citizen, SPS is a Utah

citizen, and the amount-in-controversy exceeds $75,000.00. To support its assertion that the

amount-in-controversy requirement was satisfied, SPS stated as follows:

           15. The Plaintiff seeks a judgment cancelling a security deed as to her interest
       in the property located at declaratory judgment regarding ownership of the
       property located at 124 Wasp Drive, Brunswick, GA 31525 (the “Property”). See
       Compl., ¶ 5.
           16. The subject security deed was executed by Charlie and Ruthie Lee
       (although Ruthie Lee contends in this action that her signature was forged) on
       March 9, 2005 and conveyed the Property to Long Beach Mortgage Company
       (the “Security Deed”). The Security Deed was recorded in Deed Book 1639, Page
       449, Glynn County, Georgia records. A true and correct copy of the Security
       Deed is attached hereto as Exhibit “B”.


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            17. The Glynn County Tax Assessor values the Property at $203,900.00. A
        true and correct copy of the Tax Assessor’s Record is attached hereto as Exhibit
        “C”. The amount due and owing under the Security Deed as of August 13, 2019,
        was $436,471.09. Thus, the Plaintiff’s interest is fully encumbered by the Security
        Deed and if the Plaintiff were to prevail in this action, she would obtain a benefit
        of an unencumbered one-half interest in the Property, which equates to
        $101,950.00. Because the Plaintiff will obtain a benefit of over $75,000.00 if it
        prevails in this case, the amount-in-controversy exceeds $75,000.00.

Id. at pp. 2-3, ¶¶ 15-17.

        Following removal, SPS moved to dismiss the case for failure to state a claim upon which

relief can be granted. [Doc. 4]. The Plaintiff failed to respond, and this Court entered an Order on

December 10, 2019, directing that the Plaintiff file an Amended Complaint within seven days or

the case would be dismissed with prejudice. [Doc. 9]. An Amended Complaint was timely filed

[Doc. 10] and is basically identical to the original Complaint. Compare [Doc. 1-1] with [Doc.

10]. After the Amended Complaint was filed, this Court entered an Order denying the Motion to

Dismiss as moot and directing the Plaintiff to “set forth the basis for federal jurisdiction of the

claims contained in her amended complaint” by December 27, 2019. [Doc. 11]. On December

27, 2019, the Plaintiff responded to the order with a filing asserting that the amount-in-

controversy requirement is not satisfied and requesting that the case be remanded. [Doc. 12].

SPS thus construes this filing as a Motion to Remand, as is responding as such.

        The Plaintiff contends that the value of the Property is not $203,900.00 and that other

properties on the same street – although she declines to say which ones or how they compare to

the subject Property – “have sold for substantially less than $100,000.00 in the recent past.” Id. at

p. 2. This conclusory assertion is insufficient to counter SPS’s well-supported allegations

regarding amount-in-controversy and this Court should find that is possesses subject matter

jurisdiction.




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                      ARGUMENT AND CITATION OF AUTHORITY

       Pursuant to 28 U.S.C. § 1446(a), a notice of removal must “contain[ ] a short and plain

statement of the grounds for removal . . . .” If the amount-in-controversy in an action removed

for diversity jurisdiction is not present on the face of the pleading or if nonmonetary relief is

sought, then the amount-in-controversy shall be stated in the notice of removal. 28 U.S.C. §

1446(c)(2)(A). The Supreme Court has construed this to mean that “a defendant’s notice of

removal need include only a plausible allegation that the amount in controversy exceeds the

jurisdictional threshold.” Dart Cherokee Basin Operating Co. v. Owens, 547 U.S. 81, 89 (2014).

“Evidence establishing the amount is required by § 1446(c)(2)(B) only when the plaintiff

contests, or the court questions, the defendant’s allegation.” Dart Cherokee Basin Operating Co.

v. Owens, 547 U.S. 81, 89 (2014). Under § 1446(c)(2)(B), a court must find “by a preponderance

of the evidence, that the amount in controversy exceeds [$75,000.00].”

       In the present case, the Plaintiff is seeking to cancel a security deed as to her undivided

interest in the Property located at 124 Wasp Drive, Brunswick, GA 31525. As set forth in the

Notice of Removal – and supported by the Glynn County Tax Assessor’s record – the fair market

value of the Property is $203,900.00. Further, SPS stated that the amount of the debt due and

owing under the subject security deed is $436,471.09 – more than double the value of the

Property. As such, the Plaintiff’s interest is fully encumbered and there is no equity in the

Property that is not subject to the security deed. “When a party seeks equitable relief, ‘it is well

established that the amount in controversy is measured by the value of the object of the

litigation.’” Rosetti v Bank of New York Mellon Trust Co. Nat’l Ass’n, No. 2:15-CV-169-WCO-

JCF, 2015 WL 11455763, at *2 (N.D. Ga. Oct. 23, 2015) (quoting Ericsson GE Mobile

Commc’ns, Inc. v. Motorola Commc’ns & Elecs., Inc., 120 F.3d 216, 218 (11th Cir. 1997)). The



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value is measured from the Plaintiff’s viewpoint. Ericcson, 120 F.3d at 220. With respect to

quiet title cases, the value of the subject property is the appropriate measuring stick. See id.

(citing Hosseinzadeh v. Green Point Mortg. Funding, Inc., 577 F. App’x 925, 927 (11th Cir.

2014); Rowe v. Bancorp, 569 F. App’x 701, 703 (11th Cir. 2014)).

        Here, the Plaintiff owns the Property with her husband as joint tenants with rights of

survivorship. Under Georgia law, this means that the Plaintiff “has the same rights as [her

husband] to use and possess the property” and each has an interest that is “undivided, that is, 100

percent.” Ga. Farm Bureaus Mut. Ins. Co. v. Franks, 793 S.E.2d 427, 431 (Ga. Ct. App. 2013)

(quoting Sams v. McDonals, 160 S.E.2d 594 (Ga. Ct. App. 1968)). Thus, from the Plaintiff’s

perspective, if she prevails in this case, then she will be obtaining her interest – 100 percent –

free and clear of the security deed which encumbers the entire value of the Property.

        Here, SPS has presented unrebutted evidence that the value of the Property is

$203,900.00. In response, the Plaintiff simply said that it is not and that certain unidentified

properties on the same street have sold for substantially less than $100,000.00. However, she has

provided no evidence whatsoever to support her assertions, and these conclusory statements fail

to rebut what has been presented by SPS. Moreover, the sale of other properties is wholly

irrelevant without evidence showing that this bears on the value of the subject property. For

example, the square footage, age, and condition of the properties may be vastly inferior to the

Plaintiff’s Property. SPS submits that it has shown by a preponderance of the evidence that the

amount in controversy exceeds $75,000.00 and this Court should find that it has subject matter

jurisdiction.




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                                        CONCLUSION

       Based on the foregoing, SPS respectfully requests that this Court find that it has subject

matter jurisdiction.

       Respectfully submitted, this 3rd day of January 2020.

                                             /s/ Bret J. Chaness
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                                             Attorney for Select Portfolio Servicing, Inc.

                                CERTIFICATE OF SERVICE

       I hereby certify that I have, this 3rd day of January 2020, filed the within and foregoing

by CM/ECF, which will serve this document electronically on the following:

       W. Douglas Adams
       1829 Norwich Street
       P.O. Box 857
       Brunswick, GA 31521

                                             /s/ Bret J. Chaness
                                             BRET J. CHANESS (GA Bar No. 720572)




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